             Case 4:05-cr-00131-DLJ          Document 80        Filed 12/16/05     Page 1 of 2



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 5
     Attorneys for Defendant
 6   KENNETH ALLEN
 7
 8
                                  UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                          OAKLAND DIVISION
11
12
     UNITED STATES OF AMERICA                         )   Case No. CR 05-000131 DLJ (WDB)
13                                                    )
                    Plaintiff,                        )
14                                                    )
            v.                                        )   APPLICATION FOR ORDER
15                                                    )   MODIFYING CONDITIONS OF PRE-
     KENETH ALLEN, et al.                             )   TRIAL RELEASE TO ALLOW
16                                                    )   DEFENDANT ALLEN TO TRAVEL TO
                    Defendants                        )   EASTERN DISTRICT OF CALIFORNIA
17                                                    )   TO TAKE CAL TRANS TEST;
                                                      )   ORDER
18                                                )
19
20
            Defendant KENNETH ALLEN respectfully requests an Order modifying his conditions
21
     of release to allow him to travel to the Eastern District of California on December 17, 2005 or as
22
     soon thereafter as required by Cal Trans in order for him to take a Cal Trans written exam.
23
            1. U.S. Pre-Trial Services is currently supervising Mr. Allen who currently is on
24
     electronic monitoring that allows Mr. Allen to work. Mr. Allen’s current release conditions do
25
     not allow him to travel to the Eastern District of California.
26
            2. I have spoken with Mr. Allen’s Pre-trial Services Officer, Richard Sarlatte. Mr.
27
     Sarlatte said that Mr. Allen has been doing well on pre-trial services release and that he has no
28


                                                                                                         1
             Case 4:05-cr-00131-DLJ         Document 80        Filed 12/16/05     Page 2 of 2



 1   objection to Mr. Allen’s release conditions being modified to allow him to travel to the Eastern
 2   District of California to take the Cal Trans exam on December 17, 2005.
 3          3. I have spoken to AUSA Dana Wagner, the prosecutor in this matter, and AUSA
 4   Wagner had no objection to Mr. Allen’s release conditions being modified to allow him to travel
 5   to the Eastern District of California to take the Cal Trans exam.
 6                                                        Respectfully Submitted,
     Dated: December 14, 2005                             TAMOR & TAMOR
 7
 8                                                        _____/s/ Richard Tamor_______________
                                                          By: Richard A. Tamor, Esq.
 9                                                        Attorneys for Defendant,
                                                          KENNETH ALLEN
10
11
                                                  ORDER
12
            FOR GOOD CAUSE SHOWN,
13
            Defendant, KENNETH ALLEN’S APPLICATION FOR ORDER MODIFYING
14
     CONDITIONS OF PRE-TRIAL RELEASE TO ALLOW DEFENDANT ALLEN TO
15
     WORK is GRANTED.
16
            Mr. Allen shall be allowed to travel to the Eastern District of California as directed
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     and supervised by Pre-Trial Services. All other terms and conditions of Mr. Allen’s release
18
     shall remain the same.
19
     Dated: December 16, 2005
20                                                               ___________________________
21                                                                Hon. Wayne D. Brazil
                                                                  United States Magistrate Judge
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     Application for Order Modifying Term’s of Pre-Trial Release- US v. Kenneth Allen, 05-131 DLJ2
